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       ORDERED in the Southern District of Florida on October 10, 2017.


                                                       Paul G. Hyman, Jr., Judge
                                                       United States Bankruptcy Court



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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA



      In re:                                               Case No. 17-19455-PGH
                                                           (Jointly Administered)
      CHARIOTS OF PALM BEACH, INC                          Case No. 17-19458-PGH
      and H&S, INC.,
                                                           Chapter 7
      Debtors in Possession.
      _____________________________________/


      ORDER GRANTING IN PART AND DENYING IN PART ARTHUR SILBER’S MOTION
        TO COMPEL DEBTOR IN POSSESSION TO TRANSFER TITLE AND PAYOFF
         AUTOMOBILE LIEN ON TRADED-IN MERCEDES AS REQUIRED BY SALE
      TRANSACTION (C.P. #85) AND EXPEDITED MOTION TO COMPEL TURNOVER OF
                2015 MERCEDES-BENZ GL450 (VIN #4274) (C.P. #111)


               THIS CAUSE came before the Court on October 4, 2017 at 9:30 a.m., upon Arthur

      Silber’s Motion to Compel Debtor in Possession to Transfer Title and Payoff Automobile

      Lien on Traded-In Mercedes as Required by Sale Transaction (C.P. #85) and Expedited
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Motion to Compel Turnover of 2015 Mercedes-Benz GL450 (Vin #4274)(hereinafter

“Vehicle”) (C.P. #111), and NextGear Capital, Inc.’s Objection to Arthur Silber’s Motion

To Compel Debtors To Transfer Title And Payoff Automobile Lien (C.P. #105), and Flagler

Bank’s Objection to Arthur Silber’s Expedited Motion To Compel Turnover Of 2015

Mercedes-Benz GL450 and Notice of Joinder in NextGear Capital, Inc.’s Objection (C.P.

#308), and Reply to NextGear Capital, Inc.’s Objection to Arthur Silber’s Motion To

Compel Debtors To Transfer Title And Payoff Automobile Lien and Flagler Bank’s

Objection to Arthur Silber’s Expedited Motion To Compel Turnover Of 2015 Mercedes-

Benz GL450 and Notice of Joinder in NextGear Capital, Inc.’s Objection (C.P. #319), and

the Court having reviewed the file, heard argument of counsel, and being otherwise duly

advised in the premises, it is:

       ORDERED and ADJUDGED as follows:

          1.   Arthur Silber’s Motion to Compel Debtor in Possession to Transfer Title and

Payoff Automobile Lien on Traded-In Mercedes as Required by Sale Transaction (C.P.

#85) and Expedited Motion to Compel Turnover of 2015 Mercedes-Benz GL450 (Vin

#4274) (C.P. #111) is GRANTED in part and DENIED in part, as more fully set forth

herein.

          2.   The Trustee has abandoned all interest in the 2015 Mercedes-Benz GL450

(Vin #4274) based upon lack of equity pursuant to that certain Notice of Abandonment

(C.P. #334).

          3.   Arthur Silber shall obtain and produce to NextGear Capital, Inc. and Flagler

Bank a copy of the title to the 2015 Mercedes-Benz GL450 (Vin #4274) confirming the

lien of JP Morgan Chase, N.A. thereon. NextGear Capital, Inc. and Flagler Bank shall

have three (3) business days to review the Mercedes title to confirm the lien of JP Morgan
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Chase, N.A. and raise any objections thereto. Absent any timely written objections to the

title, the Trustee is authorized to release and turnover possession of the Vehicle to Art

Silber pursuant to this Order thereafter.

       4.     Subject to the terms of this Order, the Trustee shall release possession of

the 2015 Mercedes-Benz GL450 (Vin #4274) to Arthur Silber, or his authorized agent,

subject to the purchase money security intertest of JP Morgan Chase, N.A. Upon receipt

of the Vehicle, Arthur Silber shall have the right and full authority to sell, transfer title

and/or liquidate the Vehicle, subject to the lien of JP Morgan Chase, N.A.

       5.     The request for attorneys’ fees and costs by Arthur Silber in his Reply at

(C.P. #319) is hereby DENIED with prejudice. Arthur Silber shall recover nothing from

NextGear Capital, Inc. and/or Flagler Bank as a result of these proceedings.

       6.     The Court reserves jurisdiction to enforce the terms of this Order.

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Submitted by:
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Copies furnished to:

Craig I. Kelley, Esq., is directed to serve copies of this order on all interested parties
and file a Certificate of Service.
